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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


 LEAD CASE:      In re: Synchrony Financial Derivative Litigation 3:19cv130-VAB

 MEMBER CASE: Aldridge v. Keane et al 3:19CV369-VAB




                                          NOTICE TO COUNSEL

The above-captioned cases have been ordered consolidated pursuant to an order entered by

Judge Victor A. Bolden. The following provisions will govern the procedural aspects of the

consolidation:


   1. The clerk will maintain a LEAD CONSOLIDATED DOCKET SHEET AND FILE in case

       number 3:19-cv-130-VAB

   2. All captions shall include ONLY the LEAD CONSOLILDATED CASE NAME AND

       DOCKET NUMBER.

   3. The parties and counsel from each member case will be added to the docket of the

       LEAD CONSOLIDATED DOCKET SHEET and the member cases will be closed without

       prejudice to the right of any party to move to reopen upon resolution of the LEAD case.

   4. All docketing shall be made ONLY on the LEAD CONSOLIDATED DOCKET SHEET.

   5. Any pending motions from the member cases will be re-docketed on the LEAD

       CONSOLIDATED DOCKET SHEET.

   6. In the event an appeal is taken by one or more parties from a decision or judgment of

       this court, or in the event copies of the file are needed outside the district for any reason,

       it shall be the duty of the requesting party to certify the record required. It shall

       then be the responsibility of counsel who originally prepared or filed any documents to
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                                  DISTRICT OF CONNECTICUT

       furnish, upon request, sufficient copies to the clerk for transmittal of the record. Copies

       requested shall be furnished within ten (10) days.


Dated at New Haven, Connecticut, this 26th day of March, 2020.



                                              ROBIN D. TABORA, Clerk



                                              By: /s/ Judy Fazekas

                                                      Deputy Clerk
